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                                                         FII,                       IN
                     IN THE DISTRICT COURT OF OKLAHOMA COU                             DISTRICT
                                 STATE OF OKLAHOMA                                 LAHOMA C COURT
                                                                                             OUNTY
                                                                                      O CT - 9
 AMBER VERA,                                                                                     2020
                                                                                    RICK
        Plaintiff,                                                                   COUR

 V.                                                     CASE Nki;
                                                                          202t
                                                  )
AMY DERKS,and STAR FLEET                          ) The Honorable Judge
TRUCKING,INC.                                     )
                                                  )
        Defendants.                               )

                                           PETITION

        COMES NOW Plaintiff, Amber Vera, by and through counsel, the Abel Law Firm, and

in support of their personal injury causes of action states:

        1.      On March 13, 2019, Plaintiff, was operating her vehicle southbound near the 1200

block of Garth Brooks Boulevard in Canadian County when the Defendant, Amy Derks (hereafter

"Derks"), negligently operated her vehicle and collided with the Plaintiffs vehicle.

       2.       Defendant Star Fleet Trucking, Inc.(hereafter "Star") is a Foreign For Profit Business

Corporation incorporated in the State of Delaware.

       3.       At all times mentioned herein, Defendant Derks was acting as the agent, servant and

employee and within the course and scope of her agency/employment with Defendant Star.

       4.       As a result of the negligence of the Defendant Derks, Plaintiff suffered injuries and

incurred medical expenses.

       5.       Plaintiffs injuries resulted from Defendants' negligence as follows:

                      a. Defendant Derks was inattentive to the roadway,

                      b. Defendant Derks made in improper and illegal left turn,




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                            c. Defendant Derks did not operate her vehicle in a safe and reasonable

                                manner,

                            d. Defendant Derks failed to maintain proper control over her vehicle at a

                                time when Defendant Derks knew (or should have known) that without

                                such control, persons, including Plaintiffs, were likely to be injured.

                            e. Defendant Star furnished a vehicle to Defendant Derks at a time when

                                Defendant Star knew, or should have known, Defendant Derks was not a

                                safe, careful or competent driver and that as a result thereof, persons,

                                including Plaintiff, were likely to be injured.

                            f. Defendant Star negligently hired, screened, retained, trained and/or

                                instructed Defendant Derks with regard to the operation of its vehicle.

              6.       As a result of Defendants' negligence, Plaintiff suffered personal injuries. Said

      injuries may be permanent, painful and progressive. As a further result of said injuries, Plaintiff

      has and will incur medical expense, has and will lose earnings, has and will suffer pain of mind

      and body, may be permanently disabl-Cd, and have been damaged in an amount in excess of

      $75,000.00.

              WHEREFORE, Plaintiffs pray judgment against Defendants in an amount in excess of

      $75,000.00, together with interest and costs of this action.




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